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UNITED STATES DlSTRlCT COURT
VVESTERN DlSTR|CT OF LOU|S|ANA
SHREVEPORT DlV|S|ON
SHREVEPORT CHAPTER #237 OF ClVlL ACT|ON NO. 17-CV-01346

THE UNITED DAUGHTERS OF THE
CONFEDERACY

VERSUS JUDGE JAMES

THE CADDO PAR|SH COl\/|lSS|ON, MAG|STRATE JUDGE HORNSBY
ET AL

DEFENDANTS’ OR|GlNAL ANSVVER
NOVV lNTO COURT, through their undersigned counsel, come Caddo
Parish Commissioners Steven Jackson, Lyndon Johnson, l\/latthew Linn, Jera|d
Bowman, Lynn Cawthorne, Stormy Gage-Watts, l_ouis Johnson, and the Caddo
Parish Commission who file this original answer to Shreveport Chapter #237

United Daughters of the Confederacy’s original complaint.

A. ADNIISS|ONS 81 DENlALS

'l. Defendants lack sufficient knowledge or information to form a belief about

the truth of paragraph one.

2. Defendants admit the allegations of paragraph two (jurisdiction). g

3. Defendants admit the allegations of paragraph three (venue).

4. Defendants denies that declaratory relief is authorized

5. Defendants lack sufficient knowledge or information to form a belief about

the truth of paragraph one.

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6. Defendants admit that the Caddo Parish Commission is the governing
authority for the Parish of Caddo, is a political subdivision of the State of
Louisiana, and is composed of twelve members elected to four year terms from
single member districts Defendants deny the remainder of the allegations of
paragraph six.

7. Defendant Steven Jackson admits he is the president of the Caddo Parish
Commission and that he represents Commission District Three. Defendant
denies the remainder of the allegations of paragraph seven.

8. Defendant Lyndon B. Johnson admits that he represents Commission
District Two. Defendant denies the remainder of the allegations of paragraph
eight.

9. Defendant l\/latthew Linn admits that he represents Commission District
Four. Defendant denies the remainder of the allegations of paragraph nine.

10. Defendant Jera|d Bowman admits that he represents Commission District
Five. Defendant denies the remainder of the allegations of paragraph ten.

11. Defendant Lynn D. Cawthorne admits that he represents Commission
District Six. Defendant denies the remainder of the allegations of paragraph
eleven.

12. Defendant Stormy Gage-Watts admits that she represents Commission
District Seven. Defendant denies the remainder of the allegations of paragraph

twelve.

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13. Defendant Louis Johnson admits that he represents Commission District
Twelve. Defendant denies the remainder of the allegations of paragraph 13.

14. Defendants admit that it passed a resolution to seek all legal means to
remove the Confederate Nlonument from its public property, Caddo Parish
Courthouse Square.

15. Defendants lack suchient knowledge or information to form a belief about
the truth of paragraph 15.

16. Defendants lack suchient knowledge or information to form a belief about
the truth of paragraph 16.

17. Defendants lack sufficient knowledge or information to form a belief about
the truth of paragraph 17.

18. Defendants lack sufficient knowledge or information to form a belief about
the truth of paragraph 18.

19. Defendants deny the allegations in paragraph 19.

20. Defendants admit that the Caddo Parish Commission appointed a Citizens
Advisory Committee to make a recommendation to the Commission concerning
the Confederate l\/lonument, and that the recommendation was to leave the
Confederate l\/lonument and to erect additional monuments to Reconstruction
and Civil Rights.

21. Defendants admit that Case No. 603,127 was pending in the First Judicia|

District Court of Caddo Parish at the time Plaintiff filed its complaint.

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22. Defendants lack sufficient knowledge or information to form a belief about
the truth of paragraph 22.

23. Defendants deny the allegations in paragraph 19.

24. Defendants lack sufficient knowledge or information to form a belief about
the truth of paragraph 24.

25. Defendants deny the allegations in paragraph 25.

26. Defendants lack sufficient knowledge or information to form a belief about the
truth of paragraph 26.

27. Defendants deny the allegations in paragraph 27.
B. PRAYER
For these reasonsl defendants ask the Court to enter judgment that

plaintiff take nothing, dismiss plaintiff’s suit with prejudice, assess costs against

plaintiffl and award defendant all other relief the Court deems appropriate.

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Respectfully submitted,

OFF|CE OF THE PAR|SH ATTORNEY
PARlSH OF CADDO

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ATTORNEYS FOR

CERT|F|CATE OF SERVICE
l certify that a copy of the foregoing was served on counsel of record in

this matter via ClVl/ECF on December 7, 2017.

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s/Donna Y. Frazier
OF COUNSEL

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